25-10657-smr Doc#15 Filed 05/15/25 Entered 05/15/25 07:15:34 Main Document Pg 1 of
                                        37

                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

         In re:                                       §        Chapter 11
                                                      §
         WILLIAM G. WENDLANDT                         §        Case No. 25-10657
                                                      §
         120-MP VICTORIA, LTD.                        §        Case No. 25-10658
                                                      §
         LAURENT TOWER, LLC                           §        Case No. 25-10669
                                                      §
         1309 RED RIVER DEVELOPMENT                   §
         COMPANY, LLC                                 §        Case No. 25-10670
                                                      §
         120 SOUTH MAIN PARKING LLC                   §        Case No. 25-10671
                                                      §
                                                      §        Jointly Administered under Case
                                                      §        No. 25-10657

   WILLIAM G. WENDLANDT’S MOTION TO APPROVE SALE OF REAL ESTATE
   ASSET FREE AND CLEAR OF ALL INTERESTS PURSUANT TO 11 U.S.C. § 363(b)
  AND (f) AND TO APPROVE BROKER FEES PURSUANT TO PREPETITION LISTING
                              AGREEMENT

  TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE;

         William Wendlandt, (the “Debtor”), Debtor and Debtor-in-Possession in the above

  mentioned case, respectfully files this Motion To Approve Sale of Real Estate Asset Free and Clear

  of all Interests Pursuant to 11 U.S.C. § 363(b) and (f) and to Approve Broker Fees Pursuant to

  Prepetition Listing Agreement, and would show the following:

                                     I.     Procedural History

         1.       On May 5, 2025, Debtor filed a petition under Chapter 11 of the Title 11, United

  States Code (“Case”), 11 U.S.C. §§ 101-1330.            Debtor has continued in possession and

  management of its property as Debtor-in-Possession pursuant to §§ 1107 and 1108 of the

  Bankruptcy Code.
25-10657-smr Doc#15 Filed 05/15/25 Entered 05/15/25 07:15:34 Main Document Pg 2 of
                                        37

                                       II.     Jurisdiction and Venue

          2.       This Court has jurisdiction to hear this motion pursuant to 28 U.S.C. §§ 157 and

  1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (N). Venue is proper

  before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                        III.     Factual Background

          3.       On April 12, 2025, Debtor signed a listing agreement with Urbanspace, L.L.P.

  (“Urbanspace”), attached as Exhibit 1. The compensation was amended as part of the purchase

  agreement in an Addendum Approving Broker Compensation, attached as Exhibit 2, which

  provides for the buyer and seller brokers to split a 6% commission. Douglas Harrison (“Harrison”)

  with Urbanspace procured a buyer, and on April 17, 2025, Debtor signed a real estate contract,

  attached as Exhibit “3,” (the "Real Estate Contract”) to sell Debtor’s condominium homestead

  located at 40 N. IH 35, PA1 Austin, Texas, (the “Property1”) to Angelica Guitierrez Castano

  (“Buyer”). Buyer is not an insider and had no prior involvement with Debtor or any of its affiliate

  debtors. As shown on the affidavit of Douglas Harrison attached as Exhibit 4, Urbanspace is not

  an insider and had no prior involvement with Debtor or any of its affiliate debtors.

          4.       The Contract provides for a purchase price of $1,850,000. The Buyer completed

  her due diligence, has obtained her funding, and is ready to close on the sale. The closing date is

  currently set for May 23,2025. The sale is in danger of being lost and the buyers refusing to close

  if it doesn’t close very soon, which could likely cause immediate and irreparable harm to the estate.

  Because of interest rates and the state of the US economy, finding buyers for property of this value

  is very difficult.

          5.       The property is currently encumbered by four debts.


  1
   Legal Description: Unit(s) PA1, Building D, TOWERS OF TOWN LAKE CONDOMINIUMS, a condominium project in
  Travis County, Texas, according to the Declaration of Condominium, recorded in Volume 12678, Page 10 of the
  Real Property Records of Travis County, Texas, and amendments thereto, together with an undivided interest in
  and to the common elements appurtenant thereto.
25-10657-smr Doc#15 Filed 05/15/25 Entered 05/15/25 07:15:34 Main Document Pg 3 of
                                        37

               a. Travis County is owed 2025 property taxes to be prorated on the closing statement;

               b. Keystone Bank, S.S.B. is owed approximately $1 million on its first lien mortgage;

               c. Towers of Town Lake Condominium is owed condominium assessments of

                   $107,760.02; and

               d. A debt in favor of Cavitt Wendlandt, Independent Executor of the Estate of Walter

                   Wendlandt, Deceased in the amount of $600,000, which is being released.

          6.       Next, while Debtor claims the Property is exempt as his homestead, Debtor has yet

  to file his schedules and parties in interest have 30 days following completion of the 341 to object

  to Debtor’s exemptions pursuant to Fed. R. Bankr. P. 4003(b)(1). Debtor proposes to account for

  and hold funds in excess of closing costs until the exemption objection deadline (and resolution of

  any objections) passes in a separate debtor in possession account. Notwithstanding this paragraph,

  Debtor requests authorization to use up to $5000 per month from the sales proceeds for his living

  expenses, receive $8000 to pay for the cost of moving from the 6500 square foot condo, receive

  reimbursement of up to $3000 for repairs needed to be completed on the Property prior to closing,

  and be authorized to use up to a total of $50,000 of the proceeds to pay expenses related to the

  affiliate debtors. Debtor also proposes a $50,000 “carve out” for professional fees.

          7.       Closing costs are projected to be approximately 6-7% including broker fees.                  The

  distribution of sales proceeds are projected as follows (the “Closing Distributions”):2




  2
   The projections are estimates and may be adjusted once the settlement statement is received from the title
  company.
25-10657-smr Doc#15 Filed 05/15/25 Entered 05/15/25 07:15:34 Main Document Pg 4 of
                                        37

   Cash Sales Proceeds                       $1,850,000

   Closing Costs (Excluding Broker
   Fees)                                        $18,500
   Broker 6% fee.                             $111,000
   Keystone Bank                             $1,000,000
   Travis County Taxes (Prorate)                $28,000
   Towers of Town Lake
   Condominium                                 $110,992
   UST Quarterly Fees (Approximate)             $16,000
   Professional Fees Carve Out                  $50,000
   Moving Expenses                                $8000
   Repair Reimbursement                           $3000

   Total Closing Distributions               $ 1,345,492

   Cash Proceeds After Distributions           $504,508


                                       IV.     Relief Requested

          8.      Debtor requests the Court authorize sale of the Property to the Buyer free and clear

  of all interests and approve the broker’s fees as provided for in the Addendum Approving Broker

  Compensation. Further, pursuant to Bankruptcy Rules 6003 and 6004(h), the Debtor respectfully

  requests that the Court grant the relief requested in this Motion within twenty-one (21) days

  following the Petition Date, and waive the fourteen-day stay provided by Bankruptcy Rule

  6004(h),

          9.      Out of closing, Debtor requests to pay all of the Closing Distributions as those

  amounts are ultimately determined through the closing process. The remaining funds will be held

  in a separate debtor in possession account and retained until any objections regarding Debtor’s

  exemptions are resolved or further order of the court, except Debtor may receive $5000 per month

  toward his living expenses, $8000 for moving expenses, up to $3000 in reimbursement for the

  costs of repairing the Property prior to closing, up to $50,000 to pay expenses of the Affiliate

  debtors and $50,000 shall be retained for professional fees.
25-10657-smr Doc#15 Filed 05/15/25 Entered 05/15/25 07:15:34 Main Document Pg 5 of
                                        37

                                  V. ARGUMENT AND AUTHORITY

         10.      Section 363(b)(1) of the Bankruptcy Code provides that, “the Trustee, after notice

  and a hearing, may use, sell, or lease, other than in the ordinary course of business, property of the

  estate.” 11 U.S.C. § 363(b)(1). Courts generally have applied four factors in determining whether

  to approve a sale pursuant to § 363 of the Bankruptcy Code: (1) whether a valid business

  justification exists for the proposed transaction; (2) whether fair consideration is provided; (3)

  whether the transaction has been proposed in good faith; and (4) whether adequate and reasonable

  notice is provided. 240 North Brand Partners, Ltd. V. Colony GFP Partners, L.P. (In re 240 North

  Brand Partners, Ltd.), 200 B.R. 653, 659 (9th Cir. B.A.P. 1996); United States Internal Revenue

  Service v. Moberg Trucking, Inc. (In re Moberg Trucking, Inc.), 112 B.R. 362, 364 (9th Cir. B.A.P.

  1990) (dissenting) (citing the four factors in determining whether a sale pursuant to § 363(b) should

  be approved). As set forth herein, cause exists with respect to the sales encompassed within this

  Motion.

         11.      The Debtor also proposes the sale of the Property be “free and clear” of interests

  to the fullest extent in accordance with section 363(f) of the Bankruptcy Code. Section 363(b)(1)

  of the Bankruptcy Code provides that a trustee “after notice and a hearing, may use, sell, or lease,

  other than in the ordinary course of business, property of the estate.” This provision generally

  allows a trustee (in this case Debtor subject to court approval) to sell property of the estate outside

  the ordinary course of business where the proposed sale is a sound exercise of the trustee’s business

  judgment, the sale is proposed in good faith, and is for fair value. Committee of Equity Security

  Holders v. Lionel Corporation (In re Lionel Corp.), 722 F.2d 1063, 1010 (2d Cir. 1983).

         12.      One or more of the following must also be demonstrated in order for a sale to be

  free and clear of interests pursuant to section 363(f) of the Bankruptcy Code when:

               a. applicable nonbankruptcy law permits a sale free and clear of such interest;

               b. the holder of the interest consents;
25-10657-smr Doc#15 Filed 05/15/25 Entered 05/15/25 07:15:34 Main Document Pg 6 of
                                        37

               c. the interest is a lien and the price at which the property is to be sold exceeds the
                  aggregate value of all liens against it;

               d. the interest is in bona fide dispute; or,

               e. the holder of the interest could be compelled in a legal or equitable proceeding to
                  accept a monetary satisfaction of such interest.

         13.      The Bankruptcy Code authorizes the Debtor to sell the Property.

         14.      Debtor proposes to sell the Property and consents to the sale. Other than the

  Debtor, the other parties holding an interest in the Real Property are creditors holding liens to

  secure the payment of debts.       The secured creditors are being paid in full or have otherwise

  consented to the sale.

         15.       Under these conditions, Debtor contends the sale may be approved pursuant to

  Section 363(f), in the best interest of the estate and its creditors, and should be approved. .

         16.      Next, pursuant to Bankruptcy Rules 6003 and 6004(h), the Debtor respectfully

  requests that the Court grant the relief requested in this Motion within twenty-one (21) days

  following the Petition Date, and waive the fourteen-day stay provided by Bankruptcy Rule

  6004(h), based on the following:

         17.      The Debtor submits that the relief requested herein is necessary to prevent

  immediate and irreparable harm to the estate. Specifically, the subject property is under a time-

  sensitive purchase agreement, and any delay in consummating the sale may result in the loss of a

  ready, willing, and able purchaser. The Debtor has limited liquidity and is incurring ongoing costs

  associated with maintaining the property, including taxes, insurance, and utilities. The Debtor

  further submits that in the absence of a prompt sale, there is a substantial risk that the buyer will

  terminate the purchase agreement or reduce the offer price, especially given current market

  volatility. The loss of this sale opportunity would result in immediate and tangible financial harm

  to the estate, including lost sale proceeds and continued administrative costs.
25-10657-smr Doc#15 Filed 05/15/25 Entered 05/15/25 07:15:34 Main Document Pg 7 of
                                        37

         18.     Accordingly, the Debtor respectfully requests that the Court enter an order

  approving the sale of the Property free and clear of liens, claims, interests, and encumbrances

  pursuant to section 363(f) of the Bankruptcy Code on an expedited basis, and that such order be

  effective immediately upon entry.

         19.     Finally, Debtor contends the broker Urbanspace is a disinterested party and entitled

  to be paid its commission of 6% that is to be shared with the buyer’s broker and paid as a closing

  cost from the sale proceeds

                                 VI.    NOTICE AND OBJECTIONS

         20.     An element for the approval of a sale under § 363(b) of the Bankruptcy Code is the

  requirement that interested parties receive adequate and reasonable notice. Debtor’s attorney has

  caused a copy of this Motion to be served First Class United States Mail upon (1) the Debtor; (2)

  the Trustee, (3) the secured creditors of the Debtor; (4) the twenty largest unsecured creditors of

  the Debtor; (5) the United States Trustee; and (6) those persons who have formally appeared in

  this Case and requested service pursuant to Bankruptcy Rule 2002; (7) the estate of Walter

  Wendland via its counsel of record; and (8) all applicable government agencies to the extent

  required by the Bankruptcy Rules and the Local Rules. The Debtor submits that no other or further

  notice need be provided.

         21.     Only appearance at the hearing shall be required to preserve an objection to sale.

         22.     WHEREFORE, the Debtor respectfully requests that the Court enter an order

  approving the sale in accordance with the terms and conditions set out in this Motion, approve the

  prepetition broker fee agreement and granting such other relief as is just and proper.

  Dated: May 15, 2025.
25-10657-smr Doc#15 Filed 05/15/25 Entered 05/15/25 07:15:34 Main Document Pg 8 of
                                        37

                          Respectfully Submitted,

                          SMEBERG LAW FIRM, PLLC

                          By:    /s/ Ronald J. Smeberg                   .
                                 RONALD J. SMEBERG
                                 State Bar No. 24033967
                                 4 Imperial Oaks
                                 San Antonio, Texas 78248
                                 210-695-6684 (Tel)
                                 210-598-7357 (Fax)
                                 ron@smeberg.com
                                 ATTORNEY FOR DEBTOR
25-10657-smr Doc#15 Filed 05/15/25 Entered 05/15/25 07:15:34 Main Document Pg 9 of
                                        37




                                EXHIBIT 1
25-10657-smr Doc#15 Filed 05/15/25 Entered 05/15/25 07:15:34 Main Document Pg 10 of
                                        37
                                                    EXHIBIT 1
25-10657-smr Doc#15 Filed 05/15/25 Entered 05/15/25 07:15:34 Main Document Pg 11 of
                                        37
25-10657-smr Doc#15 Filed 05/15/25 Entered 05/15/25 07:15:34 Main Document Pg 12 of
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25-10657-smr Doc#15 Filed 05/15/25 Entered 05/15/25 07:15:34 Main Document Pg 13 of
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25-10657-smr Doc#15 Filed 05/15/25 Entered 05/15/25 07:15:34 Main Document Pg 14 of
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25-10657-smr Doc#15 Filed 05/15/25 Entered 05/15/25 07:15:34 Main Document Pg 15 of
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25-10657-smr Doc#15 Filed 05/15/25 Entered 05/15/25 07:15:34 Main Document Pg 16 of
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25-10657-smr Doc#15 Filed 05/15/25 Entered 05/15/25 07:15:34 Main Document Pg 17 of
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25-10657-smr Doc#15 Filed 05/15/25 Entered 05/15/25 07:15:34 Main Document Pg 18 of
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25-10657-smr Doc#15 Filed 05/15/25 Entered 05/15/25 07:15:34 Main Document Pg 19 of
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25-10657-smr Doc#15 Filed 05/15/25 Entered 05/15/25 07:15:34 Main Document Pg 22 of
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                                 EXHIBIT 2
25-10657-smr Doc#15 Filed 05/15/25 Entered 05/15/25 07:15:34 Main Document Pg 23 of
                                        37
     EXHIBIT 2
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                                                                            EXHIBIT 3
       Contract Concerning           PROMULGATED BY THE TEXAS REAL ESTATE COMMISSION
                                                                               Page of(TREC)
                                                                                       10                             11-04-2024
                                       RESIDENTIAL  CONDOMINIUM
                                               (Address of Property) CONTRACT (RESALE)
                                      NOTICE: Not For Use Where Seller Owns Fee Simple Title To Land Beneath Unit             EQUAL
                                                                                                                             HOUSING
                                                                                                                           OPPORTUNITY




           1. PARTIES: The parties to this contract are William G Wendlandt                                (Seller)
              and        Angelica Gutierrez Castaño                                         (Buyer). Seller agrees
              to sell and convey to Buyer and Buyer agrees to buy from Seller the Property defined below.
           2. PROPERTY AND CONDOMINIUM DOCUMENTS:
              A. The Condominium Unit, improvements and accessories described below are collectively
                  referred to as the Property (Property).
                  (1) CONDOMINIUM UNIT: Unit                     PA1     , in Building              D               ,
                      of                Towers of Town Lake Condominiums         , a condominium project, located at
                              40       N Interstate 35 Highway                                                        78701
                        UNT PA1 BLD D TOWERS OF TOWN LAKE CONDOMINIUMS AMENDED PLUS 2.128% INTEREST IN COMMON AREA
                        (address/zip code), City of                   Austin               ,County of                ,
                                                                                                                Travis
                                                                                                                     ,
                     Texas, described in the Condominium Declaration and Plat and any amendments thereto
                     of record in said County; together with such Unit's undivided interest in the Common
                     Elements designated by the Declaration, including those areas reserved as Limited
                     Common Elements appurtenant to the Unit and such other rights to use the Common
                     Elements which have been specifically assigned to the Unit in any other manner. Parking
                     areas assigned to the Unit are:6 Assigned parking spots
                     Identified with Numbers:106,07,08,09,10,11 and an electric charger                              .
                 (2) IMPROVEMENTS: All fixtures and improvements attached to the above described real
                     property including without limitation, the following permanently installed and built-in
                     items, if any: all equipment and appliances, valances, screens, shutters, awnings, wall-
                     to-wall carpeting, mirrors, ceiling fans, attic fans, mail boxes, television antennas,
                     mounts and brackets for televisions and speakers, heating and air conditioning units,
                     security and fire detection equipment, wiring, plumbing and lighting fixtures, chandeliers,
                     shrubbery, landscaping, outdoor cooking equipment, and all other property attached to
                     the above described Condominium Unit.
                 (3) ACCESSORIES: The following described related accessories, if any: window air
                     conditioning units, stove, fireplace screens, curtains and rods, blinds, window shades,
                     draperies and rods, door keys, mailbox keys, above ground pool, swimming pool
                     equipment and maintenance accessories, artificial fireplace logs, security systems that
                     are not fixtures, and controls for: (i) garage doors, (ii) entry gates, and (iii) other
                     improvements and accessories. “Controls” includes Seller’s transferable rights to the (i)
                     software and applications used to access and control improvements or accessories, and
                     (ii) hardware used solely to control improvements or accessories.
                 (4) EXCLUSIONS: The following improvements and accessories will be retained by Seller and
                     must be removed prior to delivery of possession:
                                                                                                                      .
             B. The Declaration, Bylaws and any Rules of the Association are called "Documents". (Check
                 one box only):
             q (1) Buyer has received a copy of the Documents. Buyer is advised to read the Documents
                     before signing the contract.
             q✘ (2) Buyer has not received a copy of the Documents. Seller, at Seller’s expense, shall deliver
                     the Documents to Buyer within             10    days after the Effective Date of the contract.
                     Buyer may terminate the contract within 7 days after Buyer receives the Documents by
                     giving written notice of termination to Seller. If Buyer terminates the contract pursuant to
                     this paragraph, the earnest money will be refunded to Buyer. Buyer retains rights to
                     terminate under Section 82.156, Texas Property Code.
             C. The Resale Certificate from the condominium owners association (the Association) is called
                 the "Certificate". The Certificate must be in a form promulgated by TREC or required by the
                 parties. The Certificate must have been prepared, at Seller’s expense, no more than 3
                 months before the date it is delivered to Buyer and must contain at a minimum the
                 information required by Section 82.157, Texas Property Code.
                 (Check one box only):
             q (1) Buyer has received the Certificate.
             q✘ (2) Buyer has not received the Certificate. Seller shall deliver the Certificate to Buyer within
                          10    days after the Effective Date of the contract. Buyer may terminate the contract
                     within 7 days after the date Buyer receives the Certificate by giving written notice of
                     termination to Seller. If Buyer terminates the contract pursuant to this paragraph, the
                     earnest money will be refunded to Buyer. Buyer retains rights to terminate under Section
                     82.156, Texas Property Code.
             q (3) Buyer has received Seller's affidavit that Seller requested information from the
                     Association concerning its financial condition as required by the Texas Property Code, and
                     that the Association did not provide a Certificate or information required in the
                     Certificate. Buyer and Seller agree to waive the requirement to furnish the Certificate.
             D. If the Documents reveal that the Property is subject to a right of refusal under which the
                 Association or a member of the Association may purchase the Property, the Effective Date
                 shall be amended to the date that Buyer receives a copy of the Association’s certification
                 that: (i) Seller has complied with the requirements under the right of refusal; and (ii) all
                 persons who may exercise the right of refusal have not exercised or have waived the right to
                 buy the Property. If Buyer does not receive the Association’s certification within
                 _______days
                     10           after the Effective Date or if the right of refusal is exercised, this contract shall
                 terminate and the earnest money shall be refunded to Buyer.
      Initialed for identification by Buyer                       and Seller                              TREC NO. 30-17
      This copyright protected form was produced using Lone Wolf Real Estate Technologies – 231 Shearson
      Crescent #310, Cambridge, Ontario, Canada N1T 1J3. This form presented by Rosa E. Orozco | Hills and
      Views LLC | (512) 994-4618 | Rosyrealtor@live.com |
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            25-10657-smr Doc#15 Filed 05/15/25 Entered 05/15/25 07:15:34 Main Document Pg 26 of
                                                    37
       Contract Concerning     40
                           N Interstate 35 Highway              PA1          Austin            TX   78701 Page 2 of 10      11-04-2024
                                                        (Address of Property)
           3. SALES PRICE:
              A. Cash portion of Sales Price payable by Buyer at closing ....................$                        555,000.00
                 The term “Cash portion of the Sales Price” does not include proceeds from borrowing of any
                 kind or selling other real property except as disclosed in this contract.
              B. Sum of all financing described in the attached: q      ✘     Third Party Financing Addendum,
                 q Loan Assumption Addendum, q Seller Financing Addendum ....$                                       1,295,000.00
              C. Sales Price (Sum of A and B) ........................................................$             1,850,000.00
           4. LEASES: Except as disclosed in this contract, Seller is not aware of any leases affecting the
              Property. After the Effective Date, Seller may not, without Buyer's written consent, create a new
              lease, amend any existing lease, or convey any interest in the Property. (Check all applicable
              boxes)
           q A. RESIDENTIAL LEASES: The Property is subject to one or more residential leases and the
                 Addendum Regarding Residential Leases is attached to this contract.
           q B. FIXTURE LEASES: Fixtures on the Property are subject to one or more fixture leases (for
                 example, solar panels, propane tanks, water softener, security system) and the Addendum
                 Regarding Fixture Leases is attached to this contract.
           5. EARNEST MONEY AND TERMINATION OPTION.
              A. DELIVERY OF EARNEST MONEY AND OPTION FEE: Within 3 days after the Effective Date,
                 Buyer must deliver to Heritage Title Compay - Mindy Hallford (Escrow Agent) at
                                                                            (address): $_______________
                                                                                                     20,000.00        as earnest
                 money and $         1,000.00      as the Option Fee. The earnest money and Option Fee shall be
                 made payable to Escrow Agent and may be paid separately or combined in a single payment.
                 (1) Buyer shall deliver additional earnest money of $_______________          0.00          to Escrow Agent
                      within ______ days after the Effective Date of this contract.
                 (2) If the last day to deliver the earnest money, Option Fee, or the additional earnest money
                      falls on a Saturday, Sunday, or legal holiday, the time to deliver the earnest money,
                      Option Fee, or the additional earnest money, as applicable, is extended until the end of the
                      next day that is not a Saturday, Sunday, or legal holiday.
                 (3) The amount(s) Escrow Agent receives under this paragraph shall be applied first to the
                      Option Fee, then to the earnest money, and then to the additional earnest money.
                 (4) Buyer authorizes Escrow Agent to release and deliver the Option Fee to Seller at any time
                      without further notice to or consent from Buyer, and releases Escrow Agent from liability
                      for delivery of the Option Fee to Seller. The Option Fee will be credited to the Sales Price
                      at closing.
              B. TERMINATION OPTION: For nominal consideration, the receipt of which Seller acknowledges,
                 and Buyer's agreement to pay the Option Fee within the time required, Seller grants Buyer
                 the unrestricted right to terminate this contract by giving notice of termination to Seller within
                 ______
                     11     days after the Effective Date of this contract (Option Period). Notices under this
                 paragraph must be given by 5:00 p.m. (local time where the Property is located) by the date
                 specified. If Buyer gives notice of termination within the time prescribed: (i) the Option Fee
                 will not be refunded and Escrow Agent shall release any Option Fee remaining with Escrow
                 Agent to Seller; and (ii) any earnest money will be refunded to Buyer.
              C. FAILURE TO TIMELY DELIVER EARNEST MONEY: If Buyer fails to deliver the earnest money
                 within the time required, Seller may terminate this contract or exercise Seller’s remedies
                 under Paragraph 15, or both, by providing notice to Buyer before Buyer delivers the earnest
                 money.
              D. FAILURE TO TIMELY DELIVER OPTION FEE: If no dollar amount is stated as the Option Fee or
                 if Buyer fails to deliver the Option Fee within the time required, Buyer shall not have the
                 unrestricted right to terminate this contract under this Paragraph 5.
              E. TIME: Time is of the essence for this paragraph and strict compliance with the time
                 for performance is required.
           6. TITLE POLICY:
              A. TITLE POLICY: Seller shall furnish to Buyer at q     ✘ Seller’s qBuyer’s expense an owner policy of
                 title insurance (Title Policy) issued by    Heritage   Title Compay - Mindy Hallford          (Title Company)
                 in the amount of the Sales Price, dated at or after closing, insuring Buyer against loss under
                 the provisions of the Title Policy, subject to the promulgated exclusions (including existing
                 building and zoning ordinances) and the following exceptions:
                 (1) Restrictive covenants common to the platted subdivision in which the Property is located.
                 (2) The standard printed exception for standby fees, taxes and assessments.
                 (3) Liens created as part of the financing described in Paragraph 3.
                 (4) Terms and provisions of the Documents including the assessments and platted
                      easements.
                 (5) Reservations or exceptions otherwise permitted by this contract or as may be approved by
                      Buyer in writing.
                 (6) The standard printed exception as to marital rights.
                 (7) The standard printed exception as to waters, tidelands, beaches, streams, and related
                      matters.
                 (8) The standard printed exception as to discrepancies, conflicts, shortages in area or boundary
                      lines, encroachments or protrusions, or overlapping improvements.
                 (9) The exception or exclusion regarding minerals approved by the Texas Department of
                      Insurance.
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                                                    37
       Contract Concerning     40
                           N Interstate 35 Highway              PA1          Austin            TX   78701 Page 3 of 10     11-04-2024
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             B. COMMITMENT: Within 20 days after the Title Company receives a copy of this contract, Seller
                shall furnish to Buyer a commitment for title insurance (Commitment) and, at Buyer's
                expense, legible copies of restrictive covenants and documents evidencing exceptions in the
                Commitment (Exception Documents) other than the standard printed exceptions. Seller
                authorizes the Title Company to deliver the Commitment and Exception Documents to Buyer
                at Buyer's address shown in Paragraph 21. If the Commitment and Exception Documents are
                not delivered to Buyer within the specified time, the time for delivery will be automatically
                extended up to 15 days or 3 days before the Closing Date, whichever is earlier. If the
                Commitment and Exception Documents are not delivered within the time required, Buyer may
                terminate this contract and the earnest money will be refunded to Buyer.
             C. OBJECTIONS: Buyer may object in writing to defects, exceptions, or encumbrances to title:
                disclosed in the Commitment other than items 6A(1) through (9) above; or which prohibit the
                following use or activity: Residential Use
                                                                                                                  .
                Buyer must object the earlier of (i) the Closing Date or (ii) ______10   days after Buyer receives
                the Commitment and Exception Documents. Buyer’s failure to object within the time
                allowed will constitute a waiver of Buyer’s right to object; except that the requirements in
                Schedule C of the Commitment are not waived by Buyer. Provided Seller is not obligated to
                incur any expense, Seller shall cure any timely objections of Buyer or any third party lender
                within 15 days after Seller receives the objections (Cure Period) and the Closing Date will be
                extended as necessary. If objections are not cured within the Cure Period, Buyer may, by
                delivering notice to Seller within 5 days after the end of the Cure Period: (i) terminate this
                contract and the earnest money will be refunded to Buyer; or (ii) waive the objections. If
                Buyer does not terminate within the time required, Buyer shall be deemed to have waived
                the objections. If the Commitment is revised or any new Exception Document(s) is delivered,
                Buyer may object to any new matter revealed in the revised Commitment or new Exception
                Document(s) within the same time stated in this paragraph to make objections beginning
                when the revised Commitment or Exception Document(s) is delivered to Buyer.
             D. TITLE NOTICES:
                (1) ABSTRACT OR TITLE POLICY: Broker advises Buyer to have an abstract of title covering
                    the Property examined by an attorney of Buyer’s selection, or Buyer should be furnished
                    with or obtain a Title Policy. If a Title Policy is furnished, the Commitment should be
                    promptly reviewed by an attorney of Buyer’s choice due to the time limitations on Buyer’s
                    right to object.
                (2) STATUTORY TAX DISTRICTS: If the Property is situated in a utility or other statutorily
                    created district providing water, sewer, drainage, or flood control facilities and services,
                    Chapter 49, Texas Water Code, requires Seller to deliver and Buyer to sign the statutory
                    notice relating to the tax rate, bonded indebtedness, or standby fee of the district prior to
                    final execution of this contract.
                (3) TIDE WATERS: If the Property abuts the tidally influenced waters of the state, §33.135,
                    Texas Natural Resources Code, requires a notice regarding coastal area property to be
                    included in the contract. An addendum containing the notice promulgated by TREC or
                    required by the parties must be used.
                (4) ANNEXATION: If the Property is located outside the limits of a municipality, Seller notifies
                    Buyer under §5.011, Texas Property Code, that the Property may now or later be included
                    in the extraterritorial jurisdiction of a municipality and may now or later be subject to
                    annexation by the municipality. Each municipality maintains a map that depicts its
                    boundaries and extraterritorial jurisdiction. To determine if the Property is located within a
                    municipality’s extraterritorial jurisdiction or is likely to be located within a municipality’s
                    extraterritorial jurisdiction, contact all municipalities located in the general proximity of
                    the Property for further information.
                (5) PROPERTY LOCATED IN A CERTIFICATED SERVICE AREA OF A UTILITY SERVICE
                    PROVIDER: Notice required by §13.257, Water Code: The real property, described in
                    Paragraph 2, that you are about to purchase may be located in a certificated water or
                    sewer service area, which is authorized by law to provide water or sewer service to the
                    properties in the certificated area. If your property is located in a certificated area there
                    may be special costs or charges that you will be required to pay before you can receive
                    water or sewer service. There may be a period required to construct lines or other
                    facilities necessary to provide water or sewer service to your property. You are advised to
                    determine if the property is in a certificated area and contact the utility service provider to
                    determine the cost that you will be required to pay and the period, if any, that is required
                    to provide water or sewer service to your property. The undersigned Buyer hereby
                    acknowledges receipt of the foregoing notice at or before the execution of a binding
                    contract for the purchase of the real property described in Paragraph 2 or at closing of
                    purchase of the real property.
                (6) PUBLIC IMPROVEMENT DISTRICTS: If the Property is in a public improvement district,
                    Seller must give Buyer written notice as required by §5.014, Property Code. An addendum
                    containing the required notice shall be attached to this contract.
                (7) TRANSFER FEES: If the Property is subject to a private transfer fee obligation, §5.205,
                    Property Code, requires Seller to notify Buyer as follows: The private transfer fee
                    obligation may be governed by Chapter 5, Subchapter G of the Texas Property Code.
                (8) PROPANE GAS SYSTEM SERVICE AREA: If the Property is located in a propane gas system
                    service area owned by a distribution system retailer, Seller must give Buyer written notice
                    as required by §141.010, Texas Utilities Code.            An addendum containing the notice
                    approved by TREC or required by the parties should be used.
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                                                    37
       Contract Concerning     40
                           N Interstate 35 Highway              PA1          Austin            TX   78701 Page 4 of 10      11-04-2024
                                                        (Address of Property)
                (9) NOTICE OF WATER LEVEL FLUCTUATIONS: If the Property adjoins an impoundment of
                    water, including a reservoir or lake, constructed and maintained under Chapter 11, Water
                    Code, that has a storage capacity of at least 5,000 acre-feet at the impoundment’s normal
                    operating level, Seller hereby notifies Buyer: “The water level of the impoundment of water
                    adjoining the Property fluctuates for various reasons, including as a result of: (1) an entity
                    lawfully exercising its right to use the water stored in the impoundment; or (2) drought or
                    flood conditions.”
               (10) CERTIFICATE OF MOLD REMEDIATION: If the Property has been remediated for mold,
                    Seller must provide to Buyer each certificate of mold damage remediation issued under
                    §1958.154, Occupations Code, during the 5 years preceding the sale of the Property.
               (11) REQUIRED NOTICES: The following notices have been given or are attached to this contract
                    (for example, utility, water, drainage, and public improvement districts):

                   Seller’s failure to provide applicable statutory notices may provide Buyer with remedies or
                   rights to terminate the contract.
         7. PROPERTY CONDITION:
            A. ACCESS, INSPECTIONS AND UTILITIES: Seller shall permit Buyer and Buyer’s agents access to
               the Property at reasonable times. Buyer may have the Property inspected by inspectors
               selected by Buyer and licensed by TREC or otherwise permitted by law to make inspections.
               Any hydrostatic testing must be separately authorized by Seller in writing. Seller at Seller's
               expense shall immediately cause existing utilities to be turned on and shall keep the utilities on
               during the time this contract is in effect .
            B. SELLER'S DISCLOSURE NOTICE PURSUANT TO §5.008, TEXAS PROPERTY CODE (Notice):
               (Check one box only)
            ✘ (1) Buyer has received the Notice.
            q
            q (2) Buyer has not received the Notice. Within                   days after the Effective Date of this
                   contract, Seller shall deliver the Notice to Buyer. If Buyer does not receive the Notice,
                   Buyer may terminate this contract at any time prior to the closing and the earnest money
                   will be refunded to Buyer. If Seller delivers the Notice, Buyer may terminate this contract
                   for any reason within 7 days after Buyer receives the Notice or prior to the closing,
                   whichever first occurs, and the earnest money will be refunded to Buyer.
           q (3) The Texas Property Code does not require this Seller to furnish the Notice.
            C. SELLER’S DISCLOSURE OF LEAD-BASED PAINT AND LEAD-BASED PAINT HAZARDS is required by
               Federal law for a residential dwelling constructed prior to 1978.
            D. ACCEPTANCE OF PROPERTY CONDITION: “As Is” means the present condition of the Property
               with any and all defects and without warranty except for the warranties of title and the
               warranties in this contract. Buyer’s agreement to accept the Property As Is under Paragraph 7D
               (1) or (2) does not preclude Buyer from inspecting the Property under Paragraph 7A, from
               negotiating repairs or treatments in a subsequent amendment, or from terminating this
               contract during the Option Period, if any.
               (Check one box only)
            ✘ (1) Buyer accepts the Property As Is.
            q
            q (2) Buyer accepts the Property As Is provided Seller, at Seller’s expense, shall complete the
                   following specific repairs and treatments:
                                                                                                                 .
                   (Do not insert general phrases, such as “subject to inspections,” that do not identify
                   specific repairs and treatments.)
            E. LENDER REQUIRED REPAIRS AND TREATMENTS: Unless otherwise agreed in writing, neither
               party is obligated to pay for lender required repairs, which includes treatment for wood
               destroying insects. If the parties do not agree to pay for the lender required repairs or
               treatments, this contract will terminate and the earnest money will be refunded to Buyer. If the
               cost of lender required repairs and treatments exceeds 5% of the Sales Price, Buyer may
               terminate this contract and the earnest money will be refunded to Buyer.
            F. COMPLETION OF REPAIRS AND TREATMENTS: Unless otherwise agreed in writing, Seller shall
               complete all agreed repairs and treatments prior to the Closing Date and obtain any required
               permits. The repairs and treatments must be performed by persons who are licensed to provide
               such repairs or treatments or, if no license is required by law, are commercially engaged in the
               trade of providing such repairs or treatments. Seller shall: (i) provide Buyer with copies of
               documentation from the repair person(s) showing the scope of work and payment for the work
               completed; and (ii) at Seller’s expense, arrange for the transfer of any transferable warranties
               received with respect to the repairs and treatments to Buyer at closing. If Seller fails to
               complete any agreed repairs and treatments prior to the Closing Date, Buyer may exercise
               remedies under Paragraph 15 or extend the Closing Date up to 5 days if necessary for Seller to
               complete repairs and treatments.
            G. ENVIRONMENTAL MATTERS: Buyer is advised that the presence of wetlands, toxic substances,
               including asbestos and wastes or other environmental hazards or the presence of a threatened
               or endangered species or its habitat may affect Buyer’s intended use of the Property. If Buyer
               is concerned about these matters, an addendum promulgated by TREC or required by the
               parties should be used.
            H. RESIDENTIAL SERVICE CONTRACTS: Buyer may purchase a residential service contract from
               a provider or administrator licensed by the Texas Department of Licensing and Regulation. If
               Buyer purchases a residential service contract, Seller shall reimburse Buyer at closing for the
               cost of the residential service contract in an amount not exceeding $           600.00      . Buyer
      Initialed for identification by Buyer                                and Seller                                    TREC NO. 30-17
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                                                    37
       Contract Concerning     40
                           N Interstate 35 Highway              PA1          Austin            TX   78701 Page 5 of 10     11-04-2024
                                                        (Address of Property)
            should review any residential service contract for the scope of coverage, exclusions and
            limitations. The purchase of a residential service contract is optional. Similar coverage
            may be purchased from various companies authorized to do business in Texas.
        8. BROKERS AND SALES AGENTS:
           A. BROKER OR SALES AGENT DISCLOSURE: Texas law requires a real estate broker or sales agent
              who is a party to a transaction or acting on behalf of a spouse, parent, child, business entity in
              which the broker or sales agent owns more than 10%, or a trust for which the broker or sales
              agent acts as a trustee or of which the broker or sales agent or the broker or sales agent’s
              spouse, parent or child is a beneficiary, to notify the other party in writing before entering into a
              contract of sale. Disclose if applicable: N/A
                                                                                                                  .
           B.BROKERS’ FEES: All obligations of the parties for payment of brokers’ fees are contained in
              separate written agreements.
        9. CLOSING:
           A. The closing of the sale will be on or before            May           23   , 20 25 , or within 7 days
              after objections to matters disclosed in the Commitment have been cured, whichever date is
              later (Closing Date). If either party fails to close the sale by the Closing Date, the non-defaulting
              party may exercise the remedies contained in Paragraph 15.
           B. At closing:
              (1) Seller shall execute and deliver a general warranty deed conveying title to the Property to
                  Buyer and showing no additional exceptions to those permitted in Paragraph 6 and furnish
                  tax statements or certificates showing no delinquent taxes on the Property.
              (2) Buyer shall pay the Sales Price in good funds acceptable to the Escrow Agent.
              (3) Seller and Buyer shall execute and deliver any notices, statements, certificates, affidavits,
                  releases, loan documents, transfer of any warranties, and other documents reasonably
                  required for the closing of the sale and the issuance of the Title Policy.
              (4) There will be no liens, assessments, or security interests against the Property which will not
                  be satisfied out of the sales proceeds unless securing the payment of any loans assumed by
                  Buyer and assumed loans will not be in default.
              (5) Private transfer fees (as defined by Chapter 5, Subchapter G of the Texas Property Code)
                  will be the obligation of Seller unless provided otherwise in this contract. This paragraph
                  does not apply to fees assessed by the Association.
       10. POSSESSION:
           A. BUYER’S POSSESSION: Seller shall deliver to Buyer possession of the Property in its present or
              required condition, ordinary wear and tear excepted: q  ✘ upon closing and funding q according to a
              temporary residential lease form promulgated by TREC or other written lease required by the parties.
              Any possession by Buyer prior to closing or by Seller after closing which is not authorized by a
              written lease will establish a tenancy at sufferance relationship between the parties. Consult your
              insurance agent prior to change of ownership and possession because insurance coverage
              may be limited or terminated. The absence of a written lease or appropriate insurance
              coverage may expose the parties to economic loss.
           B. SMART DEVICES: “Smart Device” means a device that connects to the internet to enable remote
              use, monitoring, and management of: (i) the Property; (ii) items identified in any Non-Realty
              Items Addendum; or (iii) items in a Fixture Lease assigned to Buyer. At the time Seller delivers
              possession of the Property to Buyer, Seller shall:
              (1) deliver to Buyer written information containing all access codes, usernames, passwords, and
                  applications Buyer will need to access, operate, manage, and control the Smart Devices; and
              (2) terminate and remove all access and connections to the improvements and accessories from
                  any of Seller’s personal devices including but not limited to phones and computers.
       11. SPECIAL PROVISIONS: (This paragraph is intended to be used only for additional informational
           items. An informational item is a statement that completes a blank in a contract form, discloses
           factual information, or provides instructions. Real estate brokers and sales agents are prohibited
           from practicing law and shall not add to, delete, or modify any provision of this contract unless
           drafted by a party to this contract or a party's attorney.)
                           X months for HOA fees at the closing. Title will disburse to HOA.
             Seller to pay 6
                           2
       12. SETTLEMENT AND OTHER EXPENSES:
            A. The following expenses must be paid at or prior to closing:
               (1) Seller shall pay the following expenses (Seller's Expenses):
                   (a) releases of existing liens, including prepayment penalties and recording fees; lender,
                       FHA, or VA completion requirements; tax statements or certificates; preparation of deed;
                       one-half of escrow fee; brokerage fees that Seller has agreed to pay; and other expenses
                       payable by Seller under this contract;
                   (b) the following amount to be applied to brokerage fees that Buyer has agreed to pay:
                       q$              or q _____% of the Sales Price (check one box only); and
                   (c) an amount not to exceed $                    to be applied to other Buyer’s Expenses.
               (2) Buyer shall pay the following expenses (Buyer's Expenses): Appraisal fees; loan application
                   fees; origination charges; credit reports; preparation of loan documents; interest on the
                   notes from date of disbursement to one month prior to dates of first monthly payments;
                   recording fees; copies of easements and restrictions; loan title policy with endorsements
                   required by lender; loan-related inspection fees; photos; amortization schedules; one-half of
                   escrow fee; all prepaid items, including required premiums for flood and hazard insurance,
                   reserve deposits for insurance, ad valorem taxes and special governmental assessments;
                   final compliance inspection; courier fee; repair inspection; underwriting fee; wire transfer
                   fee; expenses incident to any loan; Private Mortgage Insurance Premium (PMI), VA Loan
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                                                    37
       Contract Concerning     40
                           N Interstate 35 Highway            PA1         Austin   TX   78701 Page 6 of 10            11-04-2024
                                                        (Address of Property)
                      Funding Fee, or FHA Mortgage Insurance Premium (MIP) as required by the lender;
                      brokerage fees that Buyer has agreed to pay; and other expenses payable by Buyer under
                      this contract.
                 (3) Buyer shall pay any and all Association fees, deposits, reserves and other charges
                      resulting from the transfer of the Property not to exceed $                          One Half and Seller shall
                      pay any excess. This paragraph does not apply to: (i) regular periodic maintenance fees,
                      assessments, or dues (including prepaid items) that are prorated by Paragraph 13, and (ii)
                      costs and fees provided by Paragraph 2.
             B. If any expense exceeds an amount expressly stated in this contract for such expense to be
                paid by a party, that party may terminate this contract unless the other party agrees to pay
                such excess. Buyer may not pay charges and fees expressly prohibited by FHA, VA, Texas
                Veterans Land Board or other governmental loan program regulations.
       13. PRORATIONS: Taxes for the current year, interest, rents, and regular periodic maintenance fees,
             assessments, and dues (including prepaid items) will be prorated through the Closing Date. The tax
             proration may be calculated taking into consideration any change in exemptions that will affect
             the current year's taxes. If taxes for the current year vary from the amount prorated at closing,
             the parties shall adjust the prorations when tax statements for the current year are available. If
             taxes are not paid at or prior to closing, Buyer shall pay taxes for the current year. Cash reserves
             from regular condominium assessments for deferred maintenance or capital improvements
             established by the Association will not be credited to Seller. Any special condominium assessment
             due and unpaid at closing will be the obligation of Seller.
       14. CASUALTY LOSS: If any part of the Unit which Seller is solely obligated to maintain and repair
             under the terms of the Declaration is damaged or destroyed by fire or other casualty, Seller shall
             restore the same to its previous condition as soon as reasonably possible, but in any event by the
             Closing Date. If Seller fails to do so due to factors beyond Seller’s control, Buyer may (a)
             terminate this contract and the earnest money will be refunded to Buyer, (b) extend the time for
             performance up to 15 days and the Closing Date will be extended as necessary or (c) accept the
             Property in its damaged condition with an assignment of insurance proceeds, if permitted by
             Seller’s insurance carrier, and receive credit from Seller at closing in the amount of the deductible
             under the insurance policy. If any part of the Common Elements or Limited Common Elements
             appurtenant to the Unit is damaged or destroyed by fire or other casualty loss, Buyer will have 7
             days from receipt of notice of such casualty loss within which to notify Seller in writing that the
             contract will be terminated unless Buyer receives written confirmation from the Association that
             the damaged condition will be restored to its previous condition within a reasonable time at no
             cost to Buyer. Unless Buyer gives such notice within such time, Buyer will be deemed to have
             accepted the Property without confirmation of such restoration. Seller will have 7 days from the
             date of receipt of Buyer’s notice within which to cause to be delivered to Buyer such confirmation.
             If written confirmation is not delivered to Buyer as required above, Buyer may terminate this
             contract and the earnest money will be refunded to Buyer. Seller’s obligations under this
             paragraph are independent of any other obligations of Seller under this contract.
       15. DEFAULT: If Buyer fails to comply with this contract, Buyer will be in default, and Seller may (a)
             enforce specific performance, seek such other relief as may be provided by law, or both, or (b)
             terminate this contract and receive the earnest money as liquidated damages, thereby releasing
             both parties from this contract. If Seller fails to comply with this contract for any other reason,
             Seller will be in default and Buyer may (a) enforce specific performance, seek such other relief as
             may be provided by law, or both, or (b) terminate this contract and receive the earnest money,
             thereby releasing both parties from this contract.
       16. MEDIATION: It is the policy of the State of Texas to encourage resolution of disputes through
             alternative dispute resolution procedures such as mediation. Any dispute between Seller and
             Buyer related to this contract which is not resolved through informal discussion will be submitted
             to a mutually acceptable mediation service or provider. The parties to the mediation shall bear
             the mediation costs equally. This paragraph does not preclude a party from seeking equitable
             relief from a court of competent jurisdiction.
       17. ATTORNEY'S FEES: A Buyer, Seller, Listing Broker, Other Broker, or Escrow Agent who prevails
             in any legal proceeding related to this contract is entitled to recover reasonable attorney’s fees
             and all costs of such proceeding.
       18. ESCROW:
             A. ESCROW: The Escrow Agent is not (i) a party to this contract and does not have liability for
                 the performance or nonperformance of any party to this contract, (ii) liable for interest on the
                 earnest money and (iii) liable for the loss of any earnest money caused by the failure of any
                 financial institution in which the earnest money has been deposited unless the financial
                 institution is acting as Escrow Agent. Escrow Agent may require any disbursement made in
                 connection with this contract to be conditioned on Escrow Agent’s collection of good funds
                 acceptable to Escrow Agent.
             B. EXPENSES: At closing, the earnest money must be applied first to any cash down payment,
                 then to Buyer's Expenses and any excess refunded to Buyer. If no closing occurs, Escrow
                 Agent may: (i) require a written release of liability of the Escrow Agent from all parties before
                 releasing any earnest money; and (ii) require payment of unpaid expenses                             incurred   on
                 behalf of a party. Escrow Agent may deduct                                   authorized expenses from the earnest
                 money payable to a party. “Authorized expenses” means expenses incurred by Escrow Agent
                 on behalf of the party entitled to the earnest money that were authorized by this contract or
                 that party.
             C. DEMAND: Upon termination of this contract, either party or the Escrow Agent may send a
                 release of earnest money to each party and the parties shall execute counterparts of the
                 release and deliver same to the Escrow Agent. If either party fails to execute the release,
                 either party may make a written demand to the Escrow Agent for the earnest money. If only
                 one party makes written demand for the earnest money, Escrow Agent shall promptly provide
                 a copy of the demand to the other party. If Escrow Agent does not receive written objection to
                 the demand from the other party within 15 days, Escrow Agent may disburse the earnest
                 money to the party making demand reduced by the amount of unpaid expenses incurred on
                 behalf of the party receiving the earnest money and Escrow Agent may pay the same to the
                 creditors. If Escrow Agent complies with the provisions of this paragraph, each party hereby
                 releases Escrow Agent from all adverse claims related to the disbursal of the earnest money.
      Initialed for identification by Buyer                                 and Seller                                  TREC NO. 30-17
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                                                    37
       Contract Concerning     40
                           N Interstate 35 Highway              PA1          Austin            TX   78701 Page 7 of 10      11-04-2024
                                                        (Address of Property)
           D. DAMAGES: Any party who wrongfully fails or refuses to sign a release acceptable to the
              Escrow Agent within 7 days of receipt of the request will be liable to the other party for (i)
              damages; (ii) the earnest money; (iii) reasonable attorney's fees; and (iv) all costs of suit.
           E. NOTICES: Escrow Agent’s notices will be effective when sent in compliance with Paragraph
              21. Notice of objection to the demand will be deemed effective upon receipt by Escrow Agent.
       19. REPRESENTATIONS: All covenants, representations and warranties in this contract survive
           closing. If any representation of Seller in this contract is untrue on the Closing Date, Seller will
           be in default. Unless expressly prohibited by written agreement, Seller may continue to show
           the Property and receive, negotiate and accept back up offers.
       20. FEDERAL REQUIREMENTS: If Seller is a "foreign person,” as defined by Internal Revenue
           Code and its regulations, or if Seller fails to deliver an affidavit or a certificate of non-foreign
           status to Buyer that Seller is not a "foreign person,” then Buyer shall withhold from the sales
           proceeds an amount sufficient to comply with applicable tax law and deliver the same to the In-
           ternal Revenue Service together with appropriate tax forms. Internal Revenue Service regula-
           tions require filing written reports if currency in excess of specified amounts is received in the
           transaction.
       21. NOTICES: All notices from one party to the other must be in writing and are effective when
           mailed to, hand-delivered at, or transmitted by fax or electronic transmission as follows:


               To Buyer at:                                                         To Seller at:




               Phone:               (    )                                           Phone:             (    )


               E-mail/Fax:                                                           E-mail/Fax:


               E-mail/Fax:        anguti.3@gmail.com                                 E-mail/Fax:
               With a copy to Buyer’s agent at:                                      With a copy to Seller’s agent at:


                               Rosyrealtor@live.com

       22. AGREEMENT OF PARTIES: This contract contains the entire agreement of the parties and
           cannot be changed except by their written agreement. Addenda which are a part of this contract
           are (check all applicable boxes):
         ✘
         q Third Party Financing Addendum                 q Environmental Assessment, Threatened or
              Loan Assumption   Addendum                      Endangered Species and Wetlands
         q                                                    Addendum
         q Buyer’s Temporary Residential Lease            q Addendum for Property Located Seaward of
         q Seller's Temporary Residential Lease               the Gulf Intracoastal Waterway
         q Addendum for Sale of Other Property by         q Addendum      for Release of Liability on
                                                              Assumption of FHA, VA, or Conventional
              Buyer
                                                              Loan Restoration of Seller’s Entitlement for
         q Addendum for "Back-Up" Contract                    VA Guaranteed Loan
         q Seller Financing Addendum                      q Addendum for Property in a Propane Gas
         q Addendum for Coastal Area Property                 System Service Area
           q      Short Sale Addendum                                            q     Addendum Regarding Residential Leases
           q      Addendum for Seller's Disclosure of
                  Information on Lead-based Paint and                            q     Addendum Regarding Fixture Leases
                  Lead-based Paint Hazards as Required
                  by Federal Law                                                 q     Addendum containing Notice of Obligation
                                                                                       to Pay Improvement District Assessment
           q      Addendum for Authorizing Hydrostatic
                  Testing                                                              Addendum for Section 1031 Exchange
                                                                                 q
           q      Addendum Concerning Right to                                   ✘
                                                                                 q     Other (list):
                  Terminate Due to Lender’s Appraisal
                                                                                       Non Realty Items Addendum


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      Views LLC | (512) 994-4618 | Rosyrealtor@live.com |
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                                                    37
       Contract Concerning     40
                           N Interstate 35 Highway              PA1          Austin            TX   78701 Page 8 of 10       11-04-2024
                                                        (Address of Property)



       23. CONSULT AN ATTORNEY BEFORE SIGNING: TREC rules prohibit real estate brokers and sales
           agents from giving legal advice. READ THIS CONTRACT CAREFULLY.

             Buyer's                                                                Seller's
             Attorney is:      No Counseling at the time of offer                   Attorney is:




              Phone:           (      )                                              Phone:


              Fax:                                                                   Fax:


              E-mail:                                                                E-mail:




         EXECUTED the        day of         04/18/2025                                                       , 20    (Effective Date).
         (BROKER: FILL IN THE DATE OF FINAL ACCEPTANCE.)




                                                                                                                           4/17/2025
           Buyer Angelica Gutierrez Castaño                                     Seller William G Wendlandt




           Buyer                                                                Seller




                       The form of this contract has been approved by the Texas Real Estate Commission. TREC forms are
                       intended for use only by trained real estate license holders. No representation is made as to the legal
                       validity or adequacy of any provision in any specific transactions. It is not intended for complex trans-
                       actions. Texas Real Estate Commission, P.O. Box 12188, Austin, TX 78711-2188, (512) 936-3000
                       (http://www.trec.texas.gov) TREC NO. 30-17. This form replaces TREC NO. 30-16.


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                                                    37
       Contract Concerning     40
                           N Interstate 35 Highway              PA1          Austin            TX    78701 Page 9 of 10              11-04-2024
                                                         (Address of Property)




                                                               BROKER INFORMATION
                                                           (Print name(s) only. Do not sign)

                    Hills and Views LLC                      9002972                                Urbanspace                       9001694
           Other Broker Firm                                  License No.      Listing Broker Firm                                   License No.


           represents     ✘ Buyer only as Buyer’s agent
                          q                                                    represents      q Seller and Buyer as an intermediary
                          q Seller as Listing Broker’s subagent                                ✘ Seller only as Seller’s agent
                                                                                               q
                        Rosa E. Orozco                       595744                      Doug Berkeley Harrison                      0362333
           Associate’s Name                                   License No.      Listing Associate’s Name                              License No.


           Team Name                                                           Team Name

                   Rosyrealtor@live.com                   (512) 994-4618              Doug@urbanspacerealtors.com                  (512) 694-1551
           Associate’s Email Address                               Phone       Listing Associate’s Email Address                           Phone


           Licensed Supervisor of Associate                   License No.      Licensed Supervisor of Listing Associate              License No.

                     11801 DOMAIN BLVD                    (512) 994-4618                     301 West Ave #100                     (512) 457-8884
           Other Broker's Address                                  Phone       Listing Broker’s Office Address                            Phone

                        AUSTIN                     TX         78758                             Austin                     TX         78701
           City                                  State                Zip      City                                       State               Zip


                                                                               Selling Associate’s Name                              License No.


                                                                               Team Name


                                                                               Selling Associate’s Email Address                           Phone


                                                                               Licensed Supervisor of Selling Associate              License No.


                                                                               Selling Associate’s Office Address


                                                                               City                                  State                    Zip




           Disclosure: Pursuant to a previous, separate agreement, Listing Broker has agreed to pay Other Broker a fee
           (q $_________ or q   ✘ _____%
                                     3     of the Sales Price). This disclosure is for informational purposes and does not
           change the previous agreement between brokers to pay or share a commission.




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                                                    37
       Contract Concerning     40
                           N Interstate 35 Highway               PA1            Austin           TX   78701 Page 10 of 10      11-04-2024
                                                        (Address of Property)


                                                                 OPTION FEE RECEIPT

           Receipt of $ ____________________ (Option Fee) in the form of ___________________________________
           is acknowledged.


           Escrow Agent                                                                                                              Date


                                                             EARNEST MONEY RECEIPT

          Receipt of $ ___________________ Earnest Money in the form of __________________________________
          is acknowledged.

          Escrow Agent Heritage Title Compay - Mindy Hallford     Received by     Email Address                                 Date/Time


          Address                                                                                                                  Phone


          City                                           State                             Zip                                        Fax



                                                                  CONTRACT RECEIPT

          Receipt of the Contract is acknowledged.

          Escrow Agent                                            Received by     Email Address                                     Date


          Address                                                                                                                  Phone


          City                                           State                             Zip                                        Fax



                                                    ADDITIONAL EARNEST MONEY RECEIPT

          Receipt of $ ___________________ additional Earnest Money in the form of __________________________
          is acknowledged.

          Escrow Agent                                            Received by     Email Address                                 Date/Time


          Address                                                                                                                  Phone


          City                                           State                             Zip                                        Fax




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                                        37




                                 EXHIBIT 4
25-10657-smr Doc#15 Filed 05/15/25 Entered 05/15/25 07:15:34 Main Document Pg 36 of
                                        37




                                                          EXHIBIT 4
25-10657-smr Doc#15 Filed 05/15/25 Entered 05/15/25 07:15:34 Main Document Pg 37 of
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